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        IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                 DISTRICT OF TEXAS – HOUSTON DIVISION

GOOD SPORTSMAN                           §
MARKETING, LLC                           §
         Plaintiff,                      §
vs.                                      §       CASE NO. 4:23-cv-2371
                                         §
SHENG CHEN, HAIYING CHENG,               §
and CHEN ZUBANG                          §
                                         §
             Defendants.                 §
                                         §       JURY DEMANDED


              DEFENDANTS’ MOTION FOR INJUNCTIVE RELIEF

      Defendants Sheng Chen, Haiying Cheng, and Chen Zubang, by and through the

undersigned counsel, do hereby submit this motion seeking injunctive relief of this Court.

Defendants request an order from the Court requiring Amazon to reinstate the products

complained of by Plaintiff and prohibiting Plaintiff from submitting any complaints of

copyright infringement against Defendants’ listings during the pendency of this

proceeding. A Memorandum of Law is filed concurrently with this Motion.

Dated this August 24, 2023                                    Respectfully submitted,

                                                 By:         /s/ Kevin Keener
                                                                         Kevin J. Keener
                                                                      Attorney-in-charge
                                                                  Illinois Bar # 6296898
                                                               Keener & Associates, P.C.
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                            CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred by telephone and email with David Cabello,

counsel for Plaintiff Good Sportsman Marketing, LLC on August 21, 2023 regarding the

relief requested in this motion. Mr. Cabello stated that Plaintiff opposed the relief being

requested in this motion.

                                                  By:          /s/ Kevin Keener
                                                                          Kevin J. Keener




                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served upon all

counsel of record via the Court’s CM/ECF system on August 24, 2023.

                                                  By:          /s/ Kevin Keener
                                                                          Kevin J. Keener




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